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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 BOBBY MILLER                                                       CIVIL ACTION
 VERSUS                                                             NO: 17-1885
 LIFE INSURANCE COMPANY OF                                          SECTION "N" (4)
 NORTH AMERICA AND THE CON-
 WAY BENEFIT PLAN


                                            JUDGMENT
         For the reasons set forth in the Court’s Order dated December 28, 2017 (Rec. Doc. 17);

accordingly,

       IT IS ORDERED, ADJUDGED, AND DECREED that there be judgment in favor of

defendants, Life Insurance Company of North America and The Con-Way Benefit Plan, and

against plaintiff, Bobby Miller, dismissing plaintiff's complaint with prejudice.

                                                          January




                                                          KURT D. ENGELHARDT
                                                     UNITED STATES DISTRICT JUDGE
